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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
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     GABRIEL NAVARRO, Individually and on             Case No. __________
10   Behalf of All Others Similarly Situated,

11                                       Plaintiff,
                                                      CLASS ACTION COMPLAINT
12            v.
13
     REALPAGE, INC.; GREYSTAR REAL
14   ESTATE PARTNERS, LLC; CUSHMAN &
     WAKEFIELD, INC.; PINNACLE                        JURY TRIAL DEMANDED
15   PROPERTY MANAGEMENT SERVICES,
     LLC; BH MANAGEMENT SERVICES,
16   LLC; CAMPUS ADVANTAGE, INC.;
17   CARDINAL GROUP HOLDINGS LLC; CA
     VENTURES GLOBAL SERVICES, LLC;
18   D.P. PREISS COMPANY, INC.; THE
     MICHAELS ORGANIZATION, LLC and
19   INTERSTATE REALTY MANAGEMENT
     COMPANY,
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21                                    Defendants.

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     CLASS ACTION COMPLAINT
     Case No. _______________
     011127-11/2068082 V1                                      1301 SECOND AVENUE, SUITE 2000 • SEATTLE, WA 98101
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 1            Plaintiff brings this action on behalf of himself individually and on behalf of a plaintiff

 2   class consisting of all persons who leased student housing properties directly from any Lessor

 3   Defendant or Co-Conspirator from January 1, 2010 through the present. Plaintiff brings this

 4   action for treble damages and injunctive relief under Section 1 of the Sherman Act. Plaintiff

 5   demands a trial by jury.

 6                                      I.       NATURE OF THE ACTION

 7            1.       Plaintiff David Navarro challenges an unlawful agreement among lessors of

 8   student housing properties (“Lessors”) to artificially inflate the prices of student housing across

 9   the United States, including specifically in college towns such as Seattle, Washington; Eugene,

10   Oregon; Tucson, Arizona; Salt Lake City, Utah; Ann Arbor, Michigan; Columbus, Ohio; and

11   Gainesville, Florida.

12            2.       In the real estate community, there is a recognized market for student housing. In

13   the normal course, the market for student housing real estate leases is “challenging”1 and “super

14   competitive,”2 and Lessors of student housing would compete according to their independent
15   assessment of supply and demand. According to one Defendant Lessor’s executive, “There’s a
16   lot of different firms out there for a small subset of the population . . . you only have basically
17   the university population of your specific area.”3 Lessors have a natural incentive to lower their
18   prices to attract renters from their competitors and maximize occupancy of their properties. Prior
19   to the onset of the conspiracy at issue, this came in the form of rental concessions (“one month
20   free”) or giveaways (raffle prizes or gift cards)4, to the benefit of student renters.
21            3.       However, in approximately 2009,5 more and more Lessors replaced their
22   independent pricing and supply decisions with collusion as Defendant RealPage, Inc.
23

24       1
            https://www.realpage.com/case-studies/campus-advantage-revenue-management-case-study/?utm_source=
     campus-advantage&utm_medium=bp&utm_campaign=pmi&utm_term=20181003 (last visited Nov. 2, 2022)..
25        2
            https://www.realpage.com/videos/student-leasing-helps-preiss-compete/ (video) (last visited Nov. 2, 2022).
26        3
            https://www.realpage.com/videos/student-leasing-helps-preiss-compete/ (video) (last visited Nov. 2, 2022).
          4
            https://www.realpage.com/analytics/breakdown-student-housing-giveaways/ (last visited Nov. 2, 2022).
27        5
            Driving Outperformance: Ensuring Success with Revenue Management, Presentation by Keith Dunkin of
     Yieldstar, at the 2014 NAA Student Housing Conference & Exposition, https://www.naahq.org/sites/default/
28   files/naa-documents/meetings/student-housing/D1-Ensuring-your-success.pdf (last visited Nov. 2, 2022).
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 1   (“RealPage”) introduced its “Revenue Management” program specifically within the context of

 2   student housing. Lessors agreed to use RealPage software that collects real-time pricing and

 3   supply levels, and then received forward-looking, unit-specific pricing and supply

 4   recommendations from that third party, based on a common algorithm using shared data. Lessors

 5   also agreed to follow these recommendations, on the expectation that competing Lessors would

 6   do the same. As the same industry executive stated, because the industry is so competitive, “we

 7   absolutely have to have a software and technology provider that allow us to be above and beyond

 8   the rest of the market and specific to students.”6

 9            4.       RealPage provided the platform and the algorithm for collusion, which granted

10   Lessors the unprecedented ability to “[f]acilitate collaboration among operations”7 and “track

11   your competition’s rent with precision.”8 Lessors submitted to RealPage data that is “as fine and
12   granular as bits of sand,”9 including rents charged for each unit and each floor plan, lease terms,
13   amenities, move-in and move-out dates. RealPage takes this data—“literally hundreds of
14   variables,” according to founder and former CEO Steve Winn10—and recommends a price for
15   each unit that a Lessor owns, giving the Lessor the courage to charge an inflated price by the
16   implicit assurance that all of their competitors were doing the same.
17            5.       In a presentation at the 2014 National Apartment Association Student Housing
18   Conference & Exposition, RealPage explained that their revenue management tool “utilizes the
19   competitive data” by “[c]omparing the effective rent you achieve to the top and bottom of the
20

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24       6
            https://www.realpage.com/videos/student-leasing-helps-preiss-compete/ (video) (last visited Nov. 2, 2022).
         7
25          Driving Outperformance: Ensuring Success with Revenue Management, Presentation by Keith Dunkin of
     Yieldstar, at the 2014 NAA Student Housing Conference & Exposition, https://www.naahq.org/sites/default/
     files/naa-documents/meetings/student-housing/D1-Ensuring-your-success.pdf (last visited Nov. 2, 2022).
26        8
            https://www.realpage.com/videos/revenue-management-software-oveview-sop/ (video) (last visited Nov. 2,
27   2022).
          9
            https://www.realpage.com/videos/yieldstar-helps-top-nmhc-companies/ (video) (last visited Nov. 2, 2022).
28        10
             2020 Q2 Earnings Call Transcript.
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 1   competitive range for your selected competitors.”11 RealPage even gave a sneak peek of the

 2   dashboard that property managers have access to, which included a view by competitor:12

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10            6.       RealPage emphasized in presentations that it had designed specific revenue
11   management tools customized for the student housing market:13
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             Driving Outperformance: Ensuring Success with Revenue Management, Presentation by Keith Dunkin of
26   Yieldstar, at the 2014 NAA Student Housing Conference & Exposition, https://www.naahq.org/sites/default/
     files/naa-documents/meetings/student-housing/D1-Ensuring-your-success.pdf (last visited Nov. 2, 2022).
27        12
             Id.
          13
             https://www.naahq.org/sites/default/files/naa-documents/meetings/student-housing/D1-Ensuring-your-
28   success.pdf (last visited Nov. 2, 2022).
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 1              7.       Consistent with the specific needs of the student housing market, RealPage

 2   provided pricing information for student housing providers that allowed them to closely analyze

 3   their pricing in comparison to their competitors at a bedroom-by-bedroom level:

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18              8.       Similarly, a company named Rainmaker Group launched in 2014 a revenue

19   management program called “LRO Student” that was specifically designed for the student

20   housing market.14 LRO Student took into account the unique aspects of the student housing

21   market in projecting prices, including that individual units are often leased by bed and that

22   tenants are limited in the number of times they will renew before they graduate. Competitors

23   would input property data and their competitive environments. The application’s pricing engine

24   would use the data input by multiple users to calculate the best price for the market, and would

25

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27

28       14
              https://studenthousingbusiness.com/the-price-is-right/ (last visited Nov. 2, 2022).
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 1   provide users with updated prices on a daily basis. The LRO assets of Rainmaker Group were

 2   subsequently acquired by RealPage for $300 million in 2017.15

 3            9.       Together, RealPage and Lessors have successfully driven rents higher for students

 4   across the country. In a press release, RealPage stated its revenue management software yielded

 5   a 2% to 7% revenue outperformance in the market.16 One Lessor Defendant stated in a video

 6   testimonial on RealPage’s website that “over the last 10 years, spanning about 150 projects, the

 7   services that [RealPage] provided have equated to a return on investment of about 300% on

 8   about 90% of those projects.”17

 9            10.      The conspiracy Plaintiff and members of the Class challenge is unlawful under

10   Section 1 of the Sherman Act. Plaintiff brings this action to recover damages, trebled, as well as

11   injunctive and other appropriate relief, detailed infra, on behalf of all others similarly situated.

12                                                  II.      PARTIES

13            11.      Plaintiff Gabriel Navarro is a resident of the State of Washington and a student at

14   the University of Washington. Plaintiff Navarro rented a multifamily residential unit at 4126 12th

15   Ave NE, Seattle, Washington beginning in September 2022 through the present. The property is
16   operated by Lessor Conspirator GEDR LakeView LLC in Seattle, Washington. Plaintiff Navarro
17   has paid higher rental prices by reason of the violation alleged herein.
18            12.      Defendant RealPage, Inc. is a Delaware corporation headquartered in Richardson,
19   Texas. RealPage provides software and services to the residential real estate industry, including
20   the revenue management software described herein.
21            13.      Lessor Defendant Greystar Real Estate Partners, LLC (“Greystar”) is a Delaware
22   limited liability corporation headquartered in Charleston, South Carolina. It is the largest
23   manager of multifamily rental real estate in the United States, and the fourth largest student
24

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          15
             https://seekingalpha.com/article/4053859-realpage-to-acquire-rainmaker-group-multifamily-lro-assets (last
26   visited Nov. 2, 2022).
          16
             RealPage Press Release, RealPage Hosts Executive Student Summit, (May 8, 2019), https://www.real
27   page.com/news/realpage-hosts-executive-student-summit/ (last visited Nov. 2, 2022).
          17
             https://www.realpage.com/videos/student-housing-software-review-greystar/ (video) (last visited Nov. 2,
28   2022).
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 1   housing manager in the United States.18 It manages over 120,600 student beds globally, serves

 2   more than 80 universities, and manages $12.4 billion in student housing assets.19 Greystar is one

 3   of RealPage’s clients and uses its revenue management software.

 4            14.      Lessor Defendant Cushman & Wakefield Inc. (“Cushman & Wakefield”) is a

 5   Delaware corporation headquartered in New York, New York. It is the third largest commercial

 6   real estate services firm in the world20 with a dedicated Student Housing Team.21 Its subsidiary,

 7   Pinnacle Property Management Services, LLC (“Pinnacle”) is a Delaware limited liability

 8   corporation headquartered in Addison, Texas. As of 2020, Pinnacle managed more than 169,000

 9   units across 839 properties.22 Pinnacle is one of RealPage’s clients and uses its revenue

10   management software.

11            15.      Lessor Defendant BH Management Services, LLC is a Florida limited liability

12   corporation headquartered in Des Moines, Iowa. BH Management Services was combined with

13   another student housing property management company, Campus Evolution Villages (which

14   included the Campus Evolution Villages and Pinnacle Campus Living brands), in 2020 to form

15   B.Hom Student Living. B.Hom Student Living is the fourteenth largest student housing manager

16   in the United States 23 and manages over 30,000 beds across 40+ universities.24 Pinnacle Campus

17   Living was one of RealPage’s clients and uses its revenue management software. B.Hom Student
18   Living was also one of RealPage’s clients and uses its revenue management software.
19            16.      Lessor Defendant Campus Advantage, Inc. (“Campus Advantage”) is a Delaware
20   corporation headquartered in Austin, Texas. It is the nation’s fifteenth largest student housing
21

22       18
            https://editions.mydigitalpublication.com/publication/?m=58489&i=733087&p=92&ver=html5 (last visited
     Nov. 2, 2022).
23       19
            https://www.greystar.com/product-specialties/student-housing (last visited Nov. 2, 2022).
         20
24          https://sec.report/Ticker/CWK (last visited Nov. 2, 2022).
         21
            https://multifamily.cushwake.com/Specialties/Student%20Housing (last visited Nov. 2, 2022).
25       22
            https://ir.cushmanwakefield.com/news/press-release-details/2020/Cushman--Wakefield-to-Acquire-
     Multifamily-Property-Management-Leader-Pinnacle-Property-Management-Services/default.aspx (last visited
26   Nov. 2, 2022).
         23
            https://editions.mydigitalpublication.com/publication/?m=58489&i=733087&p=92&ver=html5 (last visited
27   Nov. 2, 2022).
         24
            https://rew-online.com/timberline-acquires-new-columbia-university-dorm-for-84m/ (last visited Nov. 2,
28   2022).
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 1   manager.25 It specializes in property management for student housing communities and has over

 2   240 communities in 22 states.26 Campus Advantage is one of RealPage’s clients and uses its

 3   revenue management software.

 4            17.      Lessor Defendant Cardinal Group Holdings, LLC (“Cardinal Group”) is a

 5   Delaware limited liability corporation headquartered in Denver, Colorado. It provides property

 6   management services to on-and-off campus student housing as well as conventional commercial

 7   real estate and affordable housing units in 38 states, and employs over 2,000 people.27 Cardinal

 8   Group is one of RealPage’s clients and uses its revenue management software.

 9            18.      Lessor Defendant CA Ventures Global Services, LLC (“CA Ventures”) is a

10   Delaware limited liability corporation headquartered in Chicago, Illinois. It was founded in 2004

11   as a niche investor and operator of student apartments, and has since delivered 42,658 beds in

12   over 48 university markets. It employs over 527 people.28 CA Ventures is one of RealPage’s

13   clients and uses its revenue management software.
14            19.      Lessor Defendant D.P. Preiss Company, Inc. (“Preiss Company”) is a North
15   Carolina corporation headquartered in Raleigh, North Carolina. It is the ninth largest manager of
16   student housing assets in the United States.29 In 2021, it had $1.75 billion in transaction
17   volume.30 Preiss Company is one of RealPage’s clients and uses its revenue management
18   software.
19            20.      Lessor Defendant The Michaels Organization, LLC is a Delaware limited liability
20   corporation headquartered in New Jersey. Interstate Realty Management Company (“Interstate
21   Realty”) is one of the six operating companies that comprise The Michaels Organization and as
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         25
             https://editions.mydigitalpublication.com/publication/?m=58489&i=733087&p=92&ver=html5 (last visited
24   Nov. 2, 2022).
          26
             https://campusadv.com/portfolio/ (last visited Nov. 2, 2022).
25        27
             https://cardinalgroup.com/ (last visited Nov. 2, 2022).
26        28
             https://www.ca-ventures.com/real-estate/student (last visited Nov. 2, 2022).
          29
             https://editions.mydigitalpublication.com/publication/?m=58489&i=733087&p=92&ver=html5 (last visited
27   Nov. 2, 2022).
          30
             https://studenthousingbusiness.com/shb-interview-preiss-co-founder-and-ceo-donna-preiss-discusses-
28   strategy-and-goals-moving-forward/ (last visited Nov. 2, 2022).
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 1   of 2019, does business under the Michaels’ name brand.31 Interstate Realty is a New Jersey

 2   corporation headquartered in Marlton, New Jersey. Interstate Realty is one of RealPage’s clients

 3   and uses its revenue management software.

 4            21.      Lessor Conspirator GEDR LakeView LLC is a Delaware limited liability

 5   corporation headquartered in Charleston, SC. GEDR Lakeview LLC is affiliated with Defendant

 6   Greystar, who is one of RealPage’s clients and uses its revenue management software.

 7                                  III.    JURISDICTION AND VENUE

 8            22.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 9   1337, as this action arises out of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1) and

10   Sections 4 and 16 of the Clayton Antitrust Act (15 U.S.C. §§ 15 and 26).

11            23.      This Court has personal jurisdiction over Defendants under Section 12 of the

12   Clayton Act (15 U.S.C. § 22), Federal Rule of Civil Procedure 4(h)(1)(A), and Washington’s

13   long-arm statute, the Revised Code of Washington § 4.28.185.

14            24.      Defendants, directly or through their divisions, subsidiaries, predecessors, agents,

15   or affiliates, engage in interstate commerce in the sale of student housing real estate leases.

16            25.      Venue is proper in this District pursuant to Section 12 of the Clayton Act (15

17   U.S.C. § 22) and the federal venue statute (28 U.S.C. § 1391), because one or more Defendants

18   maintain business facilities, have agents, transact business, and are otherwise found within this

19   District and certain unlawful acts alleged herein were performed and had effects within this

20   District.

21                                   IV.     FACTUAL BACKGROUND

22            The Market For Student Housing Real Estate Leases Is “Highly Competitive” In
              The Normal Course
23

24            26.      The relevant product market is the market for the lease of student housing real

25   estate and the relevant geographic market is the United States, including discrete geographic

26

27
         31
             https://www.newswire.com/news/the-michaels-organization-announces-new-corporate-branding-20849890
28   (last visited Nov. 2, 2022).
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 1   submarkets in college towns including Seattle, Washington; Eugene, Oregon; Tucson, Arizona;

 2   Salt Lake City, Utah; Ann Arbor, Michigan; Columbus, Ohio; and Gainesville, Florida.

 3              27.      From the perspective of the consumer, student housing rental apartment units are

 4   not economic substitutes for multifamily rental apartment units because, among other reasons,

 5   student housing properties often grant student tenants a more flexible leasing cycle that aligns

 6   with the school year, the ability to lease by the bed rather than the unit, and are often more

 7   affordable than multifamily units since many students do not work full time. Student housing

 8   units are also not an economic substitute for apartments, condominiums, or homes for purchase

 9   because, among other reasons, purchase of real estate requires the ability to make a substantial

10   down payment and to obtain financing.

11              28.      Industry participants recognize student housing as a unique market with unique

12   challenges; indeed, all Defendants named in this action have personnel, webpages, and services

13   specific and unique to student housing. Mike Peter, President and CEO of Campus Advantage,

14   said in a video testimonial about RealPage’s services, “Student is a specialty niche. And while

15   there are many similarities obviously between accounting needs between what’s going on with

16   the multifamily and student housing, we do have some unique and often time-sensitive needs that

17   maybe they don’t experience in the multi-family world.”32

18              29.      Researchers also recognize student housing as a separate market. “Student
19   housing has several unique characteristics that separate it from market-rate traditional
20   multifamily.”33
21                       Student housing has several unique characteristics that separate it
                         from market-rate traditional multifamily. Student housing real
22                       estate is located around or on college campuses and is targeted
                         towards undergraduate or graduate students. It is primarily rent per
23
                         bed although some rents are conducted on a rent per square foot
24                       basis for graduate-level targeted properties. Due to the tenants
                         being students, leases typically require a guarantor and leases are
25                       between nine and twelve months. The leasing cycle is focused
                         around the academic year with all leases beginning before the start
26

27       32
              https://www.realpage.com/videos/realpage-student-delivers-outstanding-quality/ (video) (last visited Nov. 2,
     2022).
28       33
              Student Housing: An Attractive Alternative to Multifamily, ORG Research Team: March 28, 2022.
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 1                     of the academic year and expiring at the end of the academic year
                       or after the summer term and with very small periods of downtime.
 2                     Turnover costs at student housing properties are generally more
                       expensive due to the wear that students put on the units. The
 3
                       industry rule of thumb is that turnover costs are $150 per bed
 4                     however this can differ based on the market or tenant base.34

 5            30.      Revenue management services also regard student housing differently than other

 6   forms of rental housing. RealPage states on its website, “Student housing management has its

 7   own set of unique challenges. From the constant turn to planning shared rent payment

 8   responsibilities, student housing is about as different as it gets in rental housing.”35 Dave

 9   McKenna, vice president of Student Living at RealPage, stated, “Student housing has some of

10   the most demanding operational needs in the multifamily industry.”36 Competing providers of

11   revenue management software often specialize their software for student housing by having a

12   different leasing cycle, leasing by the bed rather than by the unit, accounting for limited renewals

13   of the same tenant, and a smaller customer base that is “limited to the student populations of

14   nearby schools and can be even further limited by on-campus housing requirements and

15   enrollment changes.”37

16            31.      The Rainmaker Group, another revenue management firm that once competed

17   with RealPage, also recognized the student housing market as distinct. In 2013, The Rainmaker

18   Group’s VP of Strategic Initiatives Steve Tappert likened the difference between leasing a

19   conventional multifamily property and a student housing property to “the difference between

20   waiting for a train and waiting for a cruise ship. If you miss your train, you may wait a couple of

21   minutes for the next one. If you miss your ship, you will be waiting at the dock for quite a

22   while.”38 When Tappert saw his multifamily clients trying to use conventional multifamily

23
         34
24           http://www.orgpm.com/Student%20Housing%20Thought%20Piece%20Final.pdf (last visited Nov. 2, 2022).
         35
             https://www.realpage.com/videos/student-housing-management-renting-to-college-students/ (last visited Nov.
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          36
             https://www.realpage.com/news/realpage-announces-launch-of-prelease-management-for-student-living/ (last
26   visited Nov. 2, 2022).
          37
             The Price Is Right, STUDENT HOUSING BUS. (Feb. 22, 2013), https://studenthousingbusiness.com/the-price-is-
27   right/ (last visited Nov. 2, 2022).
          38
             The Price Is Right, STUDENT HOUSING BUS. (Feb. 22, 2013), https://studenthousingbusiness.com/the-price-is-
28   right/ (last visited Nov. 2, 2022).
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 1   revenue management software on their student housing platforms, he stated, “You can’t just

 2   shoehorn a multifamily solution onto a student housing asset—it won’t work.”39

 3            32.      In fact, The Rainmaker Group was among the first in the industry to offer a

 4   revenue management product engineered specifically for student housing in 2012, called LRO

 5   Student.40 One client, Wood River Properties, LLC, stated “LRO essentially revolutionized a key

 6   part of our business: pricing units.”41 In 2017, RealPage made a bid to acquire LRO and its

 7   revenue pricing capabilities. The DOJ scrutinized the deal, as RealPage would be acquiring its

 8   only significant competitor. However, to the surprise of even the architect of RealPage’s revenue

 9   management software, it was eventually permitted to proceed for $300 million.42 Before the

10   acquisition, RealPage was pricing 1.5 million units. Adding LRO’s data would add another 1.5

11   million, doubling RealPage’s reach, according to founder and then-CEO Steve Winn.43

12            33.      The student housing real estate lease market satisfies the test for market definition
13   used by federal antitrust enforcement agencies, widely known as the “SSNIP test.” The test asks
14   whether a hypothetical monopolist in a proffered market could profitably impose a small but
15   significant (typically 5%), non-transitory increase in price (a “SSNIP”), without causing a
16   sufficient number of customers to switch to other products or services such that the SSNIP would
17   be unprofitable to the monopolist. If the SSNIP is profitable, the market is properly defined. If
18   the SSNIP is not profitable, the market is too narrowly defined, and does not encompass
19   sufficient economic substitutes.
20            34.      Here, the SSNIP test is satisfied, and the market is properly defined. As described
21   above and below, pursuant to the Lessors’ agreement not to compete on price, Lessors are able to
22

23
         39
             The Price Is Right, STUDENT HOUSING BUS. (Feb. 22, 2013), https://studenthousingbusiness.com/the-price-is-
24   right/ (last visited Nov. 2, 2022).
          40
             https://www.multihousingnews.com/the-rainmaker-group-launches-industrys-first-revenue-management-
25   product-engineered-specifically-for-student-housing/ (last visited Nov. 2, 2022).
          41
             https://seekingalpha.com/article/4053859-realpage-to-acquire-rainmaker-group-multifamily-lro-assets (video,
26   at 4:31) (last visited Nov. 2, 2022).
          42
             ProPublica article (Jeffrey Roper stated, “I was surprised the DOJ let that go through.”),
27   https://www.propublica.org/article/yieldstar-rent-increase-realpage-rent (last visited Nov. 2, 2022).
          43
             ProPublica article; https://www.realpage.com/news/realpage-to-acquire-lease-rent-options/ (last visited
28   Nov. 2, 2022).
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 1   increase “2% to 7% revenue outperformance” in the student housing market”44 yet those

 2   increases have not driven enough renters out of the market such that the SSNIP has become

 3   unprofitable to Lessors. One Lessor Defendant, Campus Advantage, states on their website that

 4   they saw an average rental rate increase of 8.3% across over 240 communities managed since

 5   2003.45 Another Lessor Defendant stated in a video testimonial on RealPage’s website that “over

 6   the last 10 years, spanning about 150 projects, the services that [RealPage] provided have

 7   equated to a return on investment of about 300% on about 90% of those projects.”46

 8            Before RealPage, Lessors Of Student Housing Real Estate Leases Set Prices
              Independently
 9
              35.      Before RealPage facilitated collusion among Lessors, Lessors acting
10
     independently tried to maximize occupancy. Lessors had only a short time period to set rent
11
     prices and ensure “heads in beds” at the beginning of a new school term. Every day a unit was
12
     left empty was a lost opportunity to earn revenue for that day, so Lessors offered sufficiently
13
     attractive pricing to maintain maximum occupancy. This could come in the form of reduced
14
     prices or promotional offers. Promotions included rental concessions (offering the first month
15
     free if the customers signed a one-year lease) and giveaways (gift cards, raffles, Apple products,
16
     free parking, or sometimes even cruise tickets). In one blog post, RealPage described the pre-
17
     RealPage status quo: “A property may set the rate at $400 by renting early for the fall semester,
18
     $420 when half the beds have been booked, and $450 when there aren’t many left,” and
19
     conceded this seemed “like a logical approach to pricing.”47 RealPage continued, “in fear of
20
     empty beds, some properties offer concessions or discounts for early rental decisions.”48
21

22

23
         44
24          RealPage Press Release, RealPage Hosts Executive Student Summit, (May 8, 2019), https://www.real
     page.com/news/realpage-hosts-executive-student-summit/ (last visited Nov. 2, 2022).
         45
25          https://campusadv.com/property-management/ (last visited Nov. 2, 2022).
         46
            https://www.realpage.com/videos/student-housing-software-review-greystar/ (video) (last visited Nov. 2,
26   2022).
         47
            https://www.realpage.com/blog/price-units-right-in-student-housing-with-revenue-management/ (last visited
27   Nov. 2, 2022).
         48
            https://www.realpage.com/blog/price-units-right-in-student-housing-with-revenue-management/ (last visited
28   Nov. 2, 2022).
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 1            36.      RealPage is describing a competitive situation, where Lessors maximize

 2   occupancy by setting their own prices based on their independent observations of the market

 3   This type of pricing strategy is characteristic of a competitive market.

 4            The Lessor Defendants Eliminate Competition By Outsourcing Price And Supply
              Decisions To A Common Decision Maker, RealPage
 5
              37.      RealPage called the status quo, in which competitors actually competed,
 6
     “leav[ing] money on the table.”49 Instead of offering price reductions and discounts to entice
 7
     customers, RealPage enabled property managers to set “top tier price[s],” and participation in the
 8
     cartel allowed property managers to “feel confident that it won’t end up with empty beds at the
 9
     time the semester starts.”50 Following widespread adoption of RealPage, Lessors swiftly and
10
     concertedly shifted from the previous competitive “market share over price” strategy to a new
11
     collusive “price over volume” strategy. As RealPage put it, “High Occupancy =/= Optimum
12
     Revenue Performance,”51 and “[r]ather than lease to a target occupancy . . . you’re leasing to
13
     achieve maximum revenue.”52 Price over volume is characteristic of a cartelized market.
14
     RealPage offers a product that creates one unified platform “specifically designed to streamline
15
     the unique day-to-day challenges of Student Housing,” utilizing market data that covers 1 million
16
     student beds.53 RealPage offers revenue management software as part of that platform, which
17
     assists property managers in setting rent prices.54
18
              38.      RealPage and participating Lessors adopted a new strategy: increasing prices
19
     notwithstanding market conditions and tolerating the lost revenue resulting from any unrented
20
     and empty housing units. In a competitive market, this strategy would quickly fail—any units
21

22
         49
23           https://www.realpage.com/blog/price-units-right-in-student-housing-with-revenue-management/ (last visited
     Nov. 2, 2022).
          50
24           https://www.realpage.com/blog/price-units-right-in-student-housing-with-revenue-management/ (last visited
     Nov. 2, 2022).
          51
25           https://www.realpage.com/case-studies/campus-advantage-revenue-management-case-study/?utm_source
     =campus-advantage&utm_medium=bp&utm_campaign=pmi&utm_term=20181003 (last visited Nov. 2, 2022).
26        52
             https://www.realpage.com/blog/price-units-right-in-student-housing-with-revenue-management/ (last visited
     Nov. 2, 2022).
27        53
             https://www.realpage.com/student/ (last visited Nov. 2, 2022).
          54
             https://www.realpage.com/news/realpage-announces-launch-of-prelease-management-for-student-living/ (last
28   visited Nov. 2, 2022).
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 1   listed at prices exceeding the market price would stay empty, and the property manager would

 2   eventually go out of business. In the market RealPage and Lessors created, each Lessor had

 3   mutual assurances that other Lessors would also keep prices high, leaving students with no

 4   choice but to pay what Lessors demanded.

 5            39.      In a joint case study between RealPage and Lessor Defendant Campus Advantage,

 6   Campus Advantage reported outperforming the market by 14.1% “with a negative YoY

 7   occupancy change.”55 RealPage advised property owners and potential clients, “If you want to

 8   outperform the market term after term, focus less on occupancy and more on strategic lease

 9   pricing.” Campus Advantage had “below average occupancy rates,” yet still outperformed the

10   market by double digits. Each of Campus Advantages’ properties “implemented a premium

11   revenue management solution with exclusive student housing market research and reporting . . .

12   The real-time accessibility of this data was critical to widening the margins for above market

13   performance.”56

14            40.      RealPage and participating Lessors have effectuated their anticompetitive
15   agreement to hike prices by agreeing generally to set prices using RealPage’s coordinated
16   algorithmic pricing. Lessors often referred to such adherence as pricing “courage” or
17   “discipline.” Participating Lessors also agree to provide RealPage with real-time access to their
18   competitively sensitive and nonpublic data on their student housing real estate leases.
19            41.      RealPage boasts the “Industry’s most comprehensive historical data set from
20   2013,”57 which today includes “over 1 million Student beds of in-depth market data”58 and key
21   performance indicators for nearly 1,000 universities.59 For each property manager, RealPage
22   “[d]ynamically calibrates elasticity for each bedroom type” by incorporating data from “each
23
         55
            https://www.realpage.com/case-studies/campus-advantage-revenue-management-case-study/?utm_source=
24   campus-advantage&utm_medium=bp&utm_campaign=pmi&utm_term=20181003 (last visited Nov. 2, 2022).
         56
            https://www.realpage.com/case-studies/campus-advantage-revenue-management-case-
25   study/?utm_source=campus-advantage&utm_medium=bp&utm_campaign=pmi&utm_term=20181003 (last visited
     Nov. 2, 2022).
26       57
            https://www.realpage.com/student/asset-optimization/#revenue-management-section (last visited Nov. 2,
     2022).
27       58
            https://www.realpage.com/student/ (last visited Nov. 2, 2022).
         59
            https://www.realpage.com/student/asset-optimization/#revenue-management-section (last visited Nov. 2,
28   2022).
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 1   lease and lease application.” In the Campus Advantage case study, RealPage stated that such

 2   metrics included “Perpetual lease-up by applicable year, semester, or quarter,” “Actual lease

 3   transactions and pricing data,” “Waitlist factors,” “Distinct leasing patterns for student renters,”

 4   and “Monitoring renewal conversions.”60 RealPage then compares that property manager’s rent

 5   “to the top and bottom of the competitive range for [their] selected competitors” and finally

 6   “assign[s] a price position for each lease.”61 By applying a single, common pricing algorithm to a

 7   shared dataset of competitors in a given market, RealPage provided the conduit through which

 8   Lessors colluded to raise student rents.

 9            42.      On information and belief, RealPage regularly provides participating Lessors with

10   recommended price levels that are tailored for the student housing market through their

11   YieldStar Student algorithm. RealPage regularly engages in communications with Lessors

12   regarding their pricing strategies.

13            43.      RealPage strongly emphasizes the importance of participating lessors in focusing

14   on maximizing profitability and total revenue, rather than the procompetitive focus on occupancy

15   rates that would occur in a competitive market, and did occur among lessors before the rise of

16   revenue management programs.62 Jeffrey Roper, RealPage’s main architect, publicly described

17   the problem as: “If you have idiots undervaluing, it costs the whole system.” For example,
18   RealPage’s custom marketing materials for its RealPage Student Revenue Management product
19   states that “occupancy isn’t always the answer” and that “RealPage Student Revenue
20   Management” is a “surgical tool” that “replac[es] traditional occupancy rates with intelligent
21   pricing based on hard data, resulting in the best rates for every bed.
22            44.      Lessor Defendant Campus Advantage, stated in a customer testimonial on the
23   RealPage website, “Our peers are all focused on achieving occupancy the quickest they can . . .
24

25       60
             https://www.realpage.com/case-studies/campus-advantage-revenue-management-case-study/?utm_source
     =campus-advantage&utm_medium=bp&utm_campaign=pmi&utm_term=20181003 (last visited Nov. 2, 2022).
26        61
             Driving Outperformance: Ensuring Success with Revenue Management, Presentation by Keith Dunkin of
     Yieldstar, at the 2014 NAA Student Housing Conference & Exposition, https://www.naahq.org/sites/default/
27   files/naa-documents/meetings/student-housing/D1-Ensuring-your-success.pdf (last visited Nov. 2, 2022).
          62
             https://www.realpage.com/storage/files/pages/pdfs/2020/02/vst-18-014-016-student-revenue-management-
28   flyer.pdf (last visited Nov. 2, 2022).
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 1   we’re more so focused on achieving a revenue goal instead of being focused on occupancy . . .

 2   the results really speak for themselves.”63

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14              45.     Lessors are squeezing an already-tight housing market. In economic terms, the

15   student housing market in any given college town faces an inelastic demand that, at most points,

16   outpaces supply. One exception is when the student body arrives in the weeks before the fall

17   term, looking for housing within a small radius around their campus. At this point, the student

18   housing market is as competitive as it gets—Lessors fight to attract a sudden influx of a large

19   customer base. But in a matter of weeks, this customer base dwindles: students settle in, classes

20   start, and Lessors again have market power. This is evident by RealPage’s own assessment that

21   “A property may set the rate at $400 by renting early for the fall semester, $420 when half the

22   beds have been booked, and $450 when there aren’t many left.”64 The collusion between Lessors

23   and RealPage eliminate this short, early competitive stage of the student housing cycle. Whereas

24   without RealPage, “in fear of empty beds, some properties offer concessions or discounts for

25

26
         63
              https://www.realpage.com/videos/yieldstar-customer-review-campus-advantage/ (video) (last visited Nov. 2,
27   2022).
         64
           https://www.realpage.com/blog/price-units-right-in-student-housing-with-revenue-management/ (last visited
28   Nov. 2, 2022).
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 1   early rental decisions,”65 RealPage allowed Lessors the confidence to start the semester with

 2   prices at $450 and stay there. What RealPage refers to as “fear,” most would understand as a

 3   natural market force disciplining suppliers to compete fairly. Even if some beds remained empty,

 4   the monopoly rents RealPage helped extract from the rented units justified the unrented units.

 5            The Lessor Defendants And RealPage Inflated Prices And Reduced Occupancy (i.e.,
              Output) Of Student Housing Leases
 6
              46.      According to a press release, RealPage launched YieldStar Student, a revenue
 7
     management software that was “tailor made for Student Housing operators” and as of 2019,
 8
     served “more than 50 clients.” RealPage touted YieldStar’s results: a 2% to 7% revenue
 9
     outperformance of the market, with a 95% client satisfaction rate.66
10
              47.      In a case study about Lessor Defendant Campus Advantage, Campus Advantage
11
     reported outperforming the market by 14.1% in the 2017 leasing season, “even with below
12
     average occupancy rates.”67 RealPage’s website also relayed Campus Advantage’s testimonial:
13
     “Jennifer Cassidy, Senior Vice President of Asset Management for Campus Advantage, was able
14
     to see 5.4% effective rental rate growth when using YieldStar . . . because YieldStar gives her
15
     staff the ability to better understand supply and demand in their markets and to price things
16
     accordingly.”68 Madison Meier, Vice President of Business Development for Campus
17
     Advantage, stated in a customer testimonial on the RealPage website: “Our peers are all focused
18
     on achieving occupancy the quickest they can, whether that be in concession or raised rates and
19
     we’re more so focused on achieving a revenue goal instead of being focused on occupancy . . .
20
     the results really speak for themselves . . . instead of just trying to lease their properties as quick
21

22

23

24
         65
            https://www.realpage.com/blog/price-units-right-in-student-housing-with-revenue-management/ (last visited
25   Nov. 2, 2022).
         66
            RealPage Press Release, RealPage Hosts Executive Student Summit, (May 8, 2019), https://www.real
26   page.com/news/realpage-hosts-executive-student-summit/ (last visited Nov. 2, 2022).
         67
            https://www.realpage.com/case-studies/campus-advantage-revenue-management-case-study/?utm_source
27   =campus-advantage&utm_medium=bp&utm_campaign=pmi&utm_term=20181003 (last visited Nov. 2, 2022).
         68
            https://www.realpage.com/videos/yieldstar-customer-review-campus-advantage/ (video) (last visited Nov. 2,
28   2022).
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 1   as they can to a 100%, they’re focused on really maximizing rates and really leasing each bed at

 2   its maximum potential.”69

 3              48.      Michael Greene, Sr. Director Business Operations at Lessor Greystar

 4   Management, stated in a video testimonial: “The statistics that we have as far as return on

 5   investment over the last 10 years, spanning about 150 projects, the services that [RealPage’s

 6   team] have provided have equated to a return on investment of about 300% on about 90% of

 7   those projects.”70

 8              49.      RealPage’s own executives admit that RealPage’s coordinated algorithmic pricing

 9   “is driving” anticompetitive effects in the form of higher prices and reduced output.71 RealPage

10   advertises that its revenue management algorithm “calculates exactly what you should pay on

11   that particular day, based on availability, class and amenities, competitor pricing, season,

12   historical data and other criteria.” Through the algorithm, business managers can “generate the

13   highest possible revenues in a way no human (or even team of humans) could ever do on a daily

14   basis.”72

15              50.      RealPage’s customer testimonials reveal that the price increases on student
16   housing were only made possible through the pricing courage afforded by RealPage’s
17   competitively sensitive data.
18              51.      Jennifer Cassidy, Senior Vice President of Asset Management for Campus
19   Advantage, stated in a video testimonial on RealPage’s site that “Prior to using this product, a lot
20   of our pricing decisions were reactionary. So if we were seeing concessions as a trend in the
21   market, we were at the mercy of that trend whereas now we’re more of a trend setter in that we
22   understand the supply and demand that’s happening at our property and we’re able to make
23

24
         69
25            https://www.realpage.com/videos/yieldstar-customer-review-campus-advantage/ (video) (last visited Nov. 2,
     2022).
26       70
              https://www.realpage.com/videos/student-housing-software-review-greystar/ (video) (last visited Nov. 2,
     2022).
27       71
           ProPublica article, https://www.propublica.org/article/why-rent-is-so-high (last visited Nov. 2, 2022).
         72
           https://www.realpage.com/blog/price-units-right-in-student-housing-with-revenue-management/ (last visited
28   Nov. 2, 2022).
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 1   decisions based on that—despite what’s happening in our markets.” The site boasts that Campus

 2   Advantage “was able to see 5.4% effective rental rate growth when using YieldStar.”73

 3              52.     Madison Meier, Vice President of Business Development for Campus Advantage,

 4   stated, “Our peers are all focused on achieving occupancy the quickest they can, whether that be

 5   in concession or raised rates and we’re more so focused on achieving a revenue goal instead of

 6   being focused on occupancy . . . the results really speak for themselves . . . instead of just trying

 7   to lease their properties as quick as they can to a 100%, they’re focused on really maximizing

 8   rates and really leasing each bed at its maximum potential.”74

 9              53.     RealPage’s pricing software was built by individuals who previously had been

10   involved in anticompetitive coordinated pricing efforts. Jeffrey Roper, one of the main architects

11   of RealPage’s software, is the former Director of Revenue Management at Alaska Airlines when

12   it and other airlines began using common software to share nonpublic planned routes and prices

13   with each other in the 1980s. The Department of Justice estimated that the agreement cost

14   customers over a billion dollars, and reached settlements or consent decrees for price-fixing

15   violations with eight airlines, including Alaska Airlines. Roper said, “We all got called up before

16   the Department of Justice in the early 1980s because we were colluding . . . We had no idea.”

17   But Roper evidently did not learn his lesson: less than a decade later, he had turned to the

18   apartment rental industry to begin building a “master data warehouse” of client data.75

19              “Plus Factors” Indicate The Market For Student Housing Real Estate Leases Is
                Susceptible To The Formation, Maintenance, And Efficacy Of A Cartel
20
                54.     The market for the sale of student housing residential real estate leases from
21
     Lessors to lessees is characterized by numerous “plus factors” that render the industry
22
     susceptible to collusion, such that the formation, maintenance, and efficacy of a cartel is more
23
     likely. These include (1) high barriers to entry, (2) high barriers to exit, (3) market concentration,
24

25
         73
              https://www.realpage.com/videos/yieldstar-customer-review-campus-advantage/ (video) (last visited Nov. 2,
26   2022).
         74
              https://www.realpage.com/videos/yieldstar-customer-review-campus-advantage/ (video) (last visited Nov. 2,
27   2022).
         75
           ProPublica article, https://www.propublica.org/article/yieldstar-rent-increase-realpage-rent (last visited Nov.
28   2, 2022).
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 1   (4) inelastic consumer demand, (5) relative fungibility of residential real estate leases,

 2   (6) exchanges of competitively sensitive information among horizontal competitors, and

 3   (7) numerous opportunities to collude at trade associations and RealPage functions.

 4              55.     First, student housing property owners and operators face significant entry

 5   barriers. These include the high cost of acquiring property, establishing a property management

 6   infrastructure, and ongoing costs of building maintenance and regulatory compliance. Even small

 7   rental properties cost millions of dollars to acquire. Large properties, such as those operated by

 8   Greystar, run into the hundreds of millions of dollars to own and manage and take several years

 9   and significant experience to build or acquire. For example, Greystar recently raised a $600

10   million fund in order to build three student housing complexes.76 Thus, new entrants into the

11   student housing real estate leasing market are unlikely to discipline cartel pricing.
12              56.     Second, renters face high exit barriers. Renters typically incur substantial cost and
13   inconvenience when moving, and student renters in particular cannot move too far from campus,
14   forcing them to rent where Lessors are. As such, renters cannot easily turn to alternative Lessors
15   to discipline cartel pricing.
16              57.     Third, the demand for student housing real estate property leases is relatively
17   inelastic. Except for an anomalous period during the height of the Covid pandemic, students
18   needed to live near their school to attend it. There are few, if any, realistic alternatives to renting
19   as a student. Buying is financially prohibitive and would make little sense for a tenant who is
20   likely to graduate and move elsewhere in four years. Thus, no reasonable substitutes exist to
21   discipline cartel pricing.
22              58.     Fourth, the market for student housing real estate property leases is highly
23   concentrated. Many college towns are dominated by relatively few sellers.
24              59.     Fifth, student housing residential real estate properties are relatively fungible,
25   particularly within classes of properties. That is, when controlling for certain high-level
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         76
              https://www.multihousingnews.com/greystar-secures-600m-for-student-housing-projects/ (last visited Nov. 2,
28   2022).
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 1   characteristics of properties—such as the number of bedrooms and bathrooms, amenities,

 2   location, or the age of the building—properties within those classes are relatively fungible.

 3            60.      Sixth, RealPage’s participating Lessors, directly and using RealPage as a conduit,

 4   share competitively sensitive information with one another. Founder and former CEO Steve

 5   Winn has noted in earnings calls that RealPage’s numbers “give a much more accurate view of

 6   what’s happening in the market compared to merely looking at rents reported by Internet listing

 7   services or other sources.”77 It is even less likely that this function could be recreated using any

 8   public, non-competitively sensitive sources as the advertised rates for student housing real estate

 9   leases typically diverge from the actual rates. Furthermore, RealPage provides specific, non-

10   public pricing information on important factors such as concessions that are given at the time of

11   lease that are individually negotiated and not otherwise publicly available.

12            61.      Seventh, RealPage and participating Lessors have ample opportunities to collude.

13            62.      RealPage operates a private RealPage User Group Forum, an association of over a

14   thousand participating Lessors, which, according to RealPage, aims “to improve communications

15   between RealPage and the user community,” while “promot[ing] communication between users”

16   themselves. Within that Forum is an “Idea Exchange,” where Lessors submit their own

17   recommendations for changes or improvements to RealPage’s offerings, as well as provide

18   comments on proposed changes that RealPage is considering implementing to its software

19   offerings.78

20            63.      RealPage also encourages clients to serve on subcommittees, which requires that
21   client “[a]ttend one annual meeting to be held during the RealWorld conference” and
22   “[p]articipate in one conference call per quarter.”79
23            64.      RealPage has hosted in-person, annual, multi-day RealWorld summits. The
24   summits gather Lessors with RealPage executives to network, exchange insights and ideas, and
25

26       77
             2020 Q2 Earnings Call Transcript.
         78
             https://web.archive.org/web/20220128195118/https://www.realpage.com/user-group/overview/ (last visited
27   Nov. 2, 2022).
          79
             https://web.archive.org/web/20220128185904/https://www.realpage.com/user-group/membership/ (last
28   visited Nov. 2, 2022).
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 1   discuss revenue management tools. Over the past five years, those conferences have been held in

 2   Las Vegas, NV, Nashville, TN, Orlando, FL, and virtually during the Covid-19 pandemic.

 3            65.      RealPage has also hosted “Student Summits,” specific to the student housing

 4   market, since 2014. According to a RealPage press release, “The summit features in-depth

 5   presentations and discussions on revenue management . . . A highlight of the Student Summit is

 6   gaining an understanding of the critical role revenue management now plays in profitability.

 7   RealPage is a leader in this arena with YieldStar®, the first revenue management solution

 8   purpose built for multifamily. RealPage specifically launched YieldStar Student, tailor made for

 9   Student Housing operators that now serves more than 50 clients.”80

10            66.      Industry trade associations offer RealPage and participating Lessors additional

11   opportunities to conspire. As an illustrative example, the National Multifamily Housing Council

12   (“NMHC”), which advertises itself as “the place where the leaders of the apartment industry

13   come together to guide their future success,” holds several events every year, including in person

14   “Apartment Strategy Conference,” an “Annual Meeting,” a “Fall Meeting,” hosted in cities

15   including San Diego, CA, Las Vegas, NV, and Washington, DC. NMHC counts among its

16   “Chair’s Circle Sponsors” RealPage, Greystar, and more participating Lessors. Of note, NMHC

17   “tracks market conditions through NMHC member surveys as well as data from data provider

18   partners,” to provide “industry benchmarks” on topics including “In Place Rent Per Square

19   Foot,” “Rent Change – New Leases,” and “Rent Change – Renewals.” RealPage has also

20   attended Pension and Real Estate Association, Urban Land Institute, and National Apartment

21   Association (“NAA”). Both the NAA and NMHC have hosted student housing-specific

22   conferences and summits.

23            67.      Finally, RealPage advisors have regular contact with Lessors to keep them up to

24   date on their competitors. Advisors help Lessors “Review pricing daily or weekly in

25   collaboration with on-site and regional operations management,” “Monitor and report on weekly

26   rents, occupancy and revenue trends,” and “Adjust configurations and pricing to align with your

27
         80
           RealPage Press Release, RealPage Hosts Executive Student Summit, (May 8, 2019), https://www.real
28   page.com/news/realpage-hosts-executive-student-summit/ (last visited Nov. 2, 2022).
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 1   asset objectives as market conditions and business strategies change.”81 In an earnings call, CFO

 2   Tom Ernst stated that they were “actively ramping” efforts to have RealPage’s sales team discuss

 3   their revenue management products with their clients.82

 4            Fraudulent Concealment

 5            68.      Defendants actively concealed their conduct, including the extent of their

 6   information exchange, and Plaintiff and members of the Class did not and could not have

 7   discovered Defendants’ anticompetitive conduct.

 8            69.      Plaintiff and members of the Class had neither actual nor constructive knowledge

 9   of the facts constituting their claim for relief. Plaintiff and members of the Class did not

10   discover, and could not have discovered through the exercise of reasonable diligence, the

11   existence of the conspiracy alleged herein until shortly before filing this complaint. Defendants

12   engaged in anticompetitive conduct, including secret information exchange and other

13   communications, that did not reveal facts that would put Plaintiff or members of the Class on

14   inquiry notice that there was an anticompetitive agreement related to the market for student

15   housing. Throughout the Class Period, Defendants effectively, affirmatively, and fraudulently

16   concealed their anticompetitive agreement from Plaintiff and class members.

17            70.      Not until recently was the conduct of Defendants, including the actions of

18   RealPage, widely known or reported. Only after the recent publication in October 2022 of an

19   article in ProPublica was there a comprehensive presentation of the full scope of the confidential

20   services that RealPage provides to its clients in the real estate industry.

21            71.      Defendants concealed their relationships with RealPage. Indeed, to this day, it is

22   not publicly known the number of companies that participate in RealPage’s Yieldstar Student

23   algorithm. Accordingly, a reasonable person under the circumstances would not have been

24   alerted to begin to investigate the legitimacy of Defendants’ prices on student leases.

25

26

27       81
           https://web.archive.org/web/20220923051511/https://www.realpage.com/asset-optimization/revenue-
     management/ (last visited Nov. 2, 2022).
28      82
           2020 Q2 Earnings Call Transcript.
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 1                                V.      CLASS ACTION ALLEGATIONS

 2            72.      Plaintiff brings this action on behalf of himself and all others similarly situated

 3   pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3) as representatives of the Class,

 4   which is defined as follows:

 5            73.      All persons and entities in, that are direct purchasers of student housing real estate

 6   leases in the United States from a Lessor participating in RealPage’s pricing software programs,

 7   or from a division, subsidiary, predecessor, agent, or affiliate of such Lessor, at any time during

 8   the period of January 1, 2010 until the Defendants’ unlawful conduct and its anticompetitive

 9   effects cease to persist.

10            74.      The Class is so numerous that joinder of all members in this action is

11   impracticable. There are thousands of members in the proposed Class.

12            75.      Plaintiff’s claims are typical of those of the Class.

13            76.      Plaintiff and members of the Class were all injured by the same unlawful conduct,

14   which resulted in all of them paying more for leases than they otherwise would have in a

15   competitive market.

16            77.      Plaintiff will fairly and adequately protect and represent the interests of the Class.

17   The interests of the Plaintiff are not antagonistic to the Class.

18            78.      Questions of law and fact common to the members of the Class will predominate

19   over questions, if any, that may be individual to individual class members, since the Defendants

20   have acted and refused to act on grounds generally applicable to the Class.

21            79.      Questions of law and fact common to the Class include:

22                     a.     Whether Defendants have entered into a formal or informal
                              contract, combination, conspiracy, or common
23                            understanding to artificially inflate price and/or artificially
                              suppress supply of student housing real estate leases from
24
                              competitive levels;
25
                       b.     If Defendants entered into such a formal or informal
26                            contract, combination, conspiracy, or common
                              understanding, whether that conduct violates Section 1 of
27                            the Sherman Act under the per se, quick look, or rule of
                              reason modes of analysis;
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 1                     c.      If Defendants entered into such a formal or informal
                               contract, combination, conspiracy, or common
 2                             understanding, whether that conduct has in fact artificially
                               inflated price and/or artificially suppressed supply of
 3
                               student housing real estate leases from competitive levels;
 4
                       d.      The proper measure of damages; and
 5
                       e.      The contours of appropriate injunctive relief to remediate
 6                             the anticompetitive effects of the challenged conduct in the
                               future.
 7

 8            80.      Plaintiff and members of the Class are represented by counsel who are

 9   experienced and competent in the prosecution of complex antitrust and unfair competition class

10   actions.

11            81.      Class action treatment is the superior method for the fair and efficient

12   adjudication of the controversy in that, among other things, such treatment will permit a large

13   number of similarly situated persons or entities to prosecute their common claims in a single

14   forum simultaneously, efficiently, and without the unnecessary duplication of effort and expense

15   that numerous individual actions would engender. The benefits of proceeding through the class

16   mechanism, including providing injured persons or entities with a method of obtaining redress

17   for claims that might not be practicable for them to pursue individually, substantially outweigh

18   any difficulties that may arise in the management of this class action.

19                                     VI.  CAUSE OF ACTION
                                   VIOLATION OF THE SHERMAN ACT
20
                                         FIRST CLAIM FOR RELIEF
21
                            VIOLATION OF SECTION 1 OF THE SHERMAN ACT
22                            FOR AGREEMENT IN RESTRAINT OF TRADE
                                            15 U.S.C. § 1
23
                               (On behalf of nationwide class for injunctive and
24                               equitable relief and compensatory damages)
25            82.      Plaintiff incorporates and realleges, as though fully set forth herein, each and
26   every allegation set forth in the preceding paragraphs of this Complaint.
27

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 1            83.      Beginning at a time currently unknown to Plaintiff and members of the Class,

 2   Defendants and their Co-Conspirators formed a cartel to artificially inflate the price of and

 3   artificially decrease the supply and output of student housing leases.

 4            84.      Defendants’ cartel has caused the Plaintiff and members of the Class to suffer

 5   overcharge damages.

 6            85.      There are no procompetitive justifications for the Defendants’ cartel, and any

 7   proffered justifications, to the extent legitimate, could have been achieved through less restrictive

 8   means.

 9            86.      The Defendants’ cartel is unlawful under a per se mode of analysis. In the

10   alternative, the Defendants’ cartel is unlawful under either a quick look or rule of reason mode of

11   analysis.

12                                     SECOND CLAIM FOR RELIEF

13                    VIOLATION OF SECTION 1 OF THE SHERMAN ACT FOR
                    CONSPIRACY TO EXCHANGE COMPETITIVE INFORMATION
14
                                        15 U.S.C. § 1
15
                               (On behalf of nationwide class for injunctive and
16                               equitable relief and compensatory damages)

17            87.      Plaintiff incorporates and realleges, as though fully set forth herein, each and
18   every allegation set forth in the preceding paragraphs of this Complaint.
19            88.      Beginning at a time currently unknown to Plaintiff and members of the Class,
20   Defendants and their co-conspirators entered into a continuing agreement to regularly exchange
21   detailed, timely, competitively sensitive and non-public information about their operations. This
22   agreement is an unreasonable restraint of trade in violation of Section 1 of the Sherman Act, 15
23   U.S.C. § 1.
24            89.      Defendants’ acts in furtherance of their combination or conspiracy were
25   authorized, ordered, or done by their officers, agents, employees, or representatives while
26   actively engaged in the management of Defendants’ affairs.
27            90.      Defendants’ anticompetitive acts involved United States domestic commerce and
28   import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by
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 1   raising and fixing prices for student housing leases throughout the United States, including

 2   discrete geographic submarkets in college towns.

 3            91.      The relevant product market is the market for the lease of student housing real

 4   estate and the relevant geographic market is the United States, including discrete geographic

 5   submarkets in college towns including Seattle, Washington; Eugene, Oregon; Tucson, Arizona;

 6   Salt Lake City, Utah; Ann Arbor, Michigan; Columbus, Ohio; and Gainesville, Florida.

 7            92.      Defendants could impose an increase in the price of student housing they

 8   controlled collectively without causing many consumers to switch their purchases to another

 9   lease. Student leases constitute a unique product market.

10            93.      The information regularly exchanged by Defendants pursuant to the agreement

11   has consisted of detailed, competitively sensitive and non-public information about current and

12   future pricing plans regarding leasing.

13            94.      Defendants’ regular information exchanges through RealPage reflected concerted

14   action between horizontal competitors in the market for leases for student housing.

15            95.      When Defendants that are competing for the same consumers exchange

16   competitive information, it reduces the incentives to compete on price. Furthermore, the

17   RealPage YieldStar Student algorithmic pricing specifically encouraged Defendants to adhere to

18   a common pricing system that kept prices artificially high while artificially suppressing output.

19   This strategic information exchange, as well as the RealPage YieldStar pricing recommendations

20   based off the information exchange, was a material factor in Defendants’ decisions to inflate the

21   prices that Plaintiff and members of the Class paid during the Class Period.

22            96.      Defendants’ unlawful agreements to exchange, and the actual exchanges of

23   nonpublic, timely, and detailed data were not reasonably necessary to further any procompetitive

24   purpose.

25            97.      The information-exchange agreement has had the effect of (1) reducing and

26   suppressing competition among Defendants in the market for leases for student housing, and (2)

27   inflating the prices for leases during the Class Period.

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 1            98.      As a result of Defendants’ unlawful conduct, Plaintiff and members of the Class

 2   have been harmed by being forced to pay inflated, supracompetitive prices for leases.

 3            99.      As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiff

 4   and members of the Class have been injured in their business or property and will continue to be

 5   injured in their business and property by paying more for leases than they would have paid and

 6   will pay in the absence of the conspiracy.

 7                                         REQUEST FOR RELIEF

 8            WHEREFORE, Plaintiff, on behalf of himself and the Class of all others so similarly

 9   situated, respectfully requests judgment against Defendants as follows:

10            A.       The Court determine that this action may be maintained as a class action under

11   Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiff as Class
12
     Representative and his counsel of record as Class Counsel, and direct that notice of this action, as
13
     provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the Class, once
14
     certified;
15

16            B.       The unlawful conduct, conspiracy or combination alleged herein be adjudged and

17   decreed in violation of Section 1 of the Sherman Act;

18            C.       Plaintiff and members of the Class recover damages, to the maximum extent
19   allowed under the applicable laws, and that a joint and several judgments in favor of Plaintiff and
20
     members of the Class be entered against Defendants in an amount to be trebled to the extent such
21
     laws permit;
22
              D.       Defendants, their affiliates, successors, transferees, assignees and other officers,
23

24   directors, partners, agents and employees thereof, and all other persons acting or claiming to act

25   on their behalf or in concert with them, be permanently enjoined and restrained from in any

26   manner continuing, maintaining or renewing the conduct, conspiracy, or combination alleged
27   herein, or from entering into any other conspiracy or combination having a similar purpose or
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 1   effect, and from adopting or following any practice, plan, program, or device having a similar

 2   purpose or effect;
 3
              E.       Defendants, their affiliates, successors, transferees, assignees and other officers,
 4
     directors, partners, agents and employees thereof, and all other persons acting or claiming to act
 5
     on their behalf or in concert with them, be permanently enjoined and restrained from in any
 6
     manner continuing, maintaining, or renewing the sharing of highly sensitive competitive
 7

 8   information that permits individual identification of company’s information;

 9            F.       Plaintiff and members of the Class be awarded pre- and post- judgment interest as
10   provided by law, and that such interest be awarded at the highest legal rate from and after the
11
     date of service of this Complaint;
12
              G.       Plaintiff and members of the Class recover their costs of suit, including
13
     reasonable attorneys’ fees, as provided by law; and
14

15            H.       Plaintiff and members of the Class have such other and further relief as the case

16   may require and the Court may deem just and proper.

17                                        JURY TRIAL DEMANDED
18            Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil
19   Procedure, of all issues so triable.
20
     Dated: November 2, 2022                          Respectfully submitted,
21

22                                                    HAGENS BERMAN SOBOL SHAPIRO LLP

23                                                    By:     /s/ Steve W. Berman
                                                              Steve W. Berman, WSBA No. 12536
24                                                    By:     /s/ Breanna Van Engelen
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                                                      1301 Second Avenue, Suite 2000
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28                                                             breannav@hbsslaw.com
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